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  U.S. DEPARTMENT OF THE TREASURY

  Press Center



   Treasury Designates Members of Abu Ghadiyah's Network Facilitates flow of
   terrorists, weapons, and money from Syria to al Qaida in Iraq
   2/28/2008




   hp-845

   Washington − The U.S. Department of the Treasury today designated four individuals facilitating and controlling the flow of money,
   weapons, terrorists, and other resources through Syria to al Qaida in Iraq (AQI), including to AQI commanders.

   "Since the fall of Saddam Hussein's regime, Syria has become a transit station for al Qaida foreign terrorists on their way to Iraq," said
   Stuart Levey, Under Secretary for Terrorism and Financial Intelligence. "Abu Ghadiyah and his network go to great lengths to facilitate the
   flow through Syria of money, weapons, and terrorists intent on killing U.S. and Coalition forces and innocent Iraqis."

   Today's action was taken pursuant to Executive Order 13224, which targets terrorists and those providing financial or material support to
   terrorism. Any assets these designees have under U.S. jurisdiction will be frozen, and U.S. persons are prohibited from engaging in
   business or transactions with the designees.

   Identifier Information

   BADRAN TURKI HISHAN AL MAZIDIH

   AKAs: Al-Mazidih, Badran Turki al-Hishan
   Abu Ghadiyah
   Al Mezidi, Badran Turki Hishan
   Hishan, Badran Turki
   Hisham, Badran al-Turki
   Al-Turki, Badran
   Al-Sha'bani, Badran Turki Hisham al-Mazidih
   Abu 'Abdallah
   Abu Abdullah
   Shalash, Badran Turki Hayshan
   Abu 'Azzam
   DOB: 1977
   Alt. DOB: 1978 or 1979
   POB: Mosul, Iraq
   Residence: Zabadani, Syria

   Syria-based Badran Turki Hishan Al Mazidih, also known as Abu Ghadiyah, runs the AQI facilitation network, which controls the flow of
   money, weapons, terrorists, and other resources through Syria into Iraq. Former AQI leader Abu Mus'ab al-Zarqawi appointed Badran as
   AQI's Syrian commander for logistics in 2004. After Zarqawi's death, Badran began working for the new AQI leader, Abu Ayyub Al-Masri.
   As of late-September 2006, Badran took orders directly from Masri, or through a deputy.

   Badran obtained false passports for foreign terrorists, provided passports, weapons, guides, safe houses, and allowances to foreign
   terrorists in Syria and those preparing to cross the border into Iraq. Badran received several hundred thousand dollars from his cousin
   Saddah -- also designated today -- and used these funds to support anti-U.S. military elements and the travel of AQI foreign fighters.
   Badran has also been using AQI funds for his personal use.

   As of the spring of 2007, Badran facilitated the movement of AQI operatives into Iraq via the Syrian border. Badran also directed another
   Syria-based AQI facilitator to provide safe haven and supplies to foreign fighters. This AQI facilitator, working directly for Badran, facilitated
   the movement of foreign fighters primarily from Gulf countries, through Syria into Iraq.

   GHAZY FEZZA HISHAN AL MAZIDIH

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   AKAs: Hishan, Ghazy Fezzaa
   Abu Faysal
   Shlash, Mushari Abd Aziz Saleh
   Abu Ghazzy
   DOB: 1974 or 1975
   Residence: Zabadani, Syria

   Ghazy Fezza Hishan Al Mazidih is Badran's cousin and a member of his AQI facilitation network. As of March 2006, Ghazy was Badran's
   "right-hand man." As second-in command, Ghazy worked directly with Badran, managed network operations, and acted as the
   commander for Badran's AQI network when Badran traveled. As of late-September 2006, Ghazy and Badran were planning to facilitate an
   AQI attack against Coalition forces and Iraqi police in Western Iraq. Ghazy and Badran planned to use rockets to attack multiple Coalition
   forces outposts and Iraqi police stations, in an attempt to facilitate an AQI takeover in Western Iraq.

   AKRAM TURKI HISHAN AL MAZIDIH

   AKAs:
   Al-Mazidih, Akram Turki Hishan
   Abu Jarrah
   Abu Akram
   Al-Hishan, Akram Turki
   DOB: 1974 or 1975
   Alt. DOB: 1979
   Residence: Zabadani, Syria

   Akram Turki Hishan Al Mazidih is Badran's brother and a member of his AQI facilitation network. As of early 2006, AQI leaders Akram and
   Badran directed AQI operations near Al Qa'im, Iraq. In late-November 2006, Akram smuggled weapons from Syria for use in Iraq. As of
   late-September 2005, Akram acted on behalf of AQI by ordering the execution of AQI's enemies. Akram also ordered the execution of all
   persons found to be working with the Iraqi Government or U.S. Forces, and at least one of Akram's orders resulted in the execution of two
   Iraqis in Al Qa'im, Iraq.

   SADDAH JAYLUT AL-MARSUMI

   AKAs: Al-Marsumi, Sa'da Jalut Hassam
   Jalout, Saddaa
   Jaloud, Sa'daa
   DOB: 1955 or 1956
   Citizenship: Syrian
   Residence: Al Shajlah Village, Syria
   Alt. Residence: As Susah Village, Syria
   Alt. Residence: Baghuz, Syria

   As of the spring of 2006, Saddah Jaylut Al-Marsumi, Badran's cousin, was an AQI financier who worked with Badran and other AQI
   facilitators to transport several unidentified Syrian suicide bombers into Iraq on behalf of AQI. Saddah also facilitated the financing and
   smuggling of AQI foreign fighters from Syria into Iraq. As of early 2006, Saddah transferred several hundred thousand dollars to a hawala
   in Iraq, where Badran received the funds and used them to support anti-U.S. military elements and the travel of AQI foreign fighters.

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